Case 1:05-cv-01094-.]DT-STA Document 4 Filed 05/31/05 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION AT JACKSON

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LARRY GODWIN and
LINDA GODWIN,

VS.

BOYD R. LAMB and
LAND O’FROST, INC.,

Plaintif`fs,

No.:

Defendants.

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1:05-1094-T/Am
JURY DEMANDED

 

[PRGPOGED] RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates

are established as the final dates for:

This document entered on the docket sheet in co
with Rule 58 and/or 79 (a) FHCP on

IN"ITIAL DISCLOSURES (RULE 26(a)(l)): June 21, 2005
JOINING PART[ES:
for Plaintiff: August 5, 2005;
for Defendant: September 6, 2005.
AMENDING PLEADINGS:
For Plaintiif: August 5, 2005;
For Defendant: September 6, 2005.
COMPLETING ALL DISCOVERY: February 3, 2006.

(a) REQUESTS FOR PRODUCTION, ]NTERROGATORIES
REQUESTS FOR ADMISSIONS: February 3, 2006.

(b) EXPERT DISCLOSURE (Rule 26(3)(2)):

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icg lance

and

Case 1:05-cv-01094-.]DT-STA Document 4 Filed 05/31/05 Page 2 of 4 Page|D 10

(i) Plaintiff’ s Experts: Decernber 2, 2005;
(ii) Defendant’s Experts: January 3, 2006;
(iii) Supplementation under Rule 26(e): January 13, 2006.
(c) DEPOSI"TIONS OF EXPERTS: February 3, 2006.
F[LING DISPOSITIVE MOTIONS: February 22, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for plaintiff: Ma.rch 30, 2006;
(b) for Defendant: April 14, 2006.

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last j days and is SET for JURY TRIAL on
May 15, 2006 at 9:30 A.M. A joint pretrial order is due on May 5, 2006. ln the event the
parties are unable to agree on a joint pretrial order, the parties must notify the court at least
ten days before trial.

OTHER RELEVANT MATTERS:

Intelrogatories, Requests for Production and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by the
deadline for completion of discovery. For example, if the FRCP allow 30 days for a party
to respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default of service of the response, answer, or objection which is the
subject of the motion if the default occurs Within 30 days of the discovery deadline, unless
the time for filing of such motion is extended for good cause shown, or any objection to the
default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, excepts motions pursuant to FRCP 12, 56, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither
party may tile an additional reply, however, without leave of the court. If a party believes
that a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required.

Case 1:05-cv-01094-.]DT-STA Document 4 Filed 05/31/05 Page 3 of 4 Page|D 11

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge
can normally provide the parties With a definite trial date that will not be continued unless a

continuance is agreed to by all parties, or an emergency arises which precludes the matter
from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or

private mediation on or before the close of discove§g.
This order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 4 in
case l:05-CV-01094 was distributed by fax, mail, or direct printing on
June l, 2005 to the parties listed.

ESSEE

 

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Honorable l ames Todd
US DISTRICT COURT

